
100 N.Y.2d 533 (2003)
In the Matter of ELSIE J. SMITH, Appellant,
v.
LUM SMITH, Respondent. (And Additional Proceedings.)
Court of Appeals of the State of New York.
Submitted May 5, 2003.
Decided May 13, 2003.
Appeal, insofar as taken from the Appellate Division order of modification in the Family Court Act article 4 proceeding (denominated appeal No. 4 at the Appellate Division), dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that the other orders appealed from do not finally determine the proceedings within the meaning of the Constitution.
